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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA,                         )
                                                  )
                 Plaintiff,                       )
                                                  )
            v.                                    )
                                                  )     Case No. ______________________
SHANT HOVNANIAN,                                  )
                                                  )
PETER HOVNANIAN,                                  )
in his capacity as trustee for the                )
Pachava Asset Trust,                              )
                                                  )
NINA HOVNANIAN,                                   )
both in her individual capacity and as            )
as trustee for the VSHPHH Trust,                  )
                                                  )
ADELPHIA WATER COMPANY, INC.,                     )
                                                  )
MTAG SERVICES, LLC,                               )
                                                  )
ULYSSES ASSET SUB II, LLC, and                    )
                                                  )
TOWNSHIP OF HOWELL,                               )
                                                  )
                 Defendants.                      )

                               COMPLAINT FOR FEDERAL TAXES

        PLAINTIFF, the United States of America, at the request and with the authorization of

the Chief Counsel for the Internal Revenue Service, a delegate of the Secretary of Treasury, and

at the direction of the Attorney General of the United States, seeks to: (1) reduce to judgment the

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income tax assessments made against Defendant Shant Hovnanian for the 2002 through 2004

and 2007 tax years; (2) declare that the Pachava Asset Trust, VSHPHH Trust, and Adelphia

Water Company, Inc., are nominees of Shant Hovnanian; and (3) foreclose on the real property

held by those entities.

                                  JURISDICTION & VENUE

       1.      Jurisdiction over this action is conferred upon this court by virtue of 28 U.S.C.

§§ 1331, 1340 and 1345, and 26 U.S.C. § 7402(a), and 7403.

       2.      Venue is proper in this district and division under 28 U.S.C. §§ 1391 and 1396.

                                            PARTIES

       3.      The plaintiff is the United States of America.

       4.      Defendant Shant Hovnanian resides in Monmouth County, New Jersey, which is

within the jurisdiction of this Court.

       5.      Defendant Peter Hovnanian is the trustee of the Pachava Asset Trust, which holds

bare legal title to the property commonly known as 520 Navesink River Road, Middletown

Township, New Jersey.

       6.      Defendant MTAG Services, LLC, may claim an interest in the 520 Navesink

River Road property.

       7.      Defendant Nina Hovnanian is the trustee of the VSHPHH Trust. The VSHPHH

Trust holds bare legal title to the Village Mall property, which is located at 1 Dag Hammarskjold

Boulevard, Freehold, New Jersey.

       8.      Adelphia Water Company, Inc., holds bare legal title to the property commonly

known as 572 Wyckoff Mills Road, Freehold, New Jersey.




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        9.       Defendant Nina Hovnanian may individually claim an interest in the 572 Wyckoff

Mills Road property.

        10.      Defendant Ulysses Asset Sub, II, LLC, may claim an interest in the 572 Wyckoff

Mills Road property.

        11.      Defendant Township of Howell may claim an interest in the 572 Wyckoff Mills

Road property.

        12.      The 520 Navesink River Road property, the Village Mall property, and the

572 Wyckoff Mills Road property, and are all located within the jurisdiction of this Court.

                                  COUNT I
                 REDUCE INCOME TAX ASSESSMENTS TO JUDGMENT

        13.      The United States incorporates paragraphs 1 through 12, of the Complaint as if

fully set forth herein.

        14.      A delegate of the Secretary of the Treasury made the following federal income tax

(Form 1040) assessments against Shant Hovnanian for the tax periods identified below:

        Tax         Date of           Amount of Tax       Balance as of
        Period      Assessment        Assessment          September 30, 2018
                     10/22/2008                $3,914,430
        2002                                                      $12,274,759
                      2/13/2013                   241,764
                     10/22/2008                    $7,964
        2003                                                          $840,528
                      2/13/2013                  $309,108
        2004          2/13/2013                  $983,773           $3,074,834
        2007          3/29/2010                   $11,223              $19,268
                                                    Total         $16,209,389

        15.      Notice and demand for the payment of the tax assessments described in paragraph

14, above, was given to Shant Hovnanian.




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        16.     Interest and statutory additions to tax have accrued, and will continue to accrue,

on the unpaid balance of the federal income tax assessments described in paragraph 14, above,

until paid in full.

        17.     Shant Hovnanian has failed to pay the full amounts of the federal income tax

liabilities due and owing, and there remains due and owing to the United States the sum of

$16,209,389 as of September 30, 2018, plus interest and statutory additions accruing after those

dates according to law.

        WHEREFORE, the United States requests:

A.      That the Court enter judgment in favor of the United States and against Shant Hovnanian

for income tax liabilities for tax years 2002, 2003, 2004, and 2007 in the amount of $16,209,389

as of September 30, 2018, together with all interest and statutory additions that have accrued and

will continue accruing thereafter according to law.

                              COUNT II
         DECLARE THAT THE PACHAVA ASSET TRUST IS THE NOMINEE
                  OR ALTER EGO OF SHANT HOVNANIAN

        18.     The United States incorporates paragraphs 1 through 17 of the Complaint as if

fully set forth herein.

        19.     On June 21, 2011, Shant Hovnanian’s mother transferred the property commonly

known as 520 Navesink River Road, Middletown Township (Block 1043, Lot 67.02), to the

Shant S. Hovnanian Asset Trust for nominal consideration. This property is a mansion located

between the Navesink Country Club and the Navesink River.

        20.     On October 11, 2011, the Shant S. Hovnanian Asset Trust changed its name to the

Pachava Asset Trust. On December 16, 2011, the Shant S. Hovnanian Asset Trust filed a




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“corrective deed” purporting to transfer the property to the Pachava Asset Trust for nominal

consideration.

       21.       The transfer to the Pachava Asset Trust, rather than to Shant Hovnanian directly,

was an attempt to avoid encumbering the property with the federal tax liens, which attached to

all of Shant Hovnanian’s property and rights to property. 26 U.S.C. § 6321.

       22.       The Pachava Asset Trust holds bare legal title to the 520 Navesink River Road

property. Shant Hovnanian is the true and equitable owner of the property.

       23.       Shant Hovnanian enjoys the benefits of owning the 520 Navesink River Road

property. Shant Hovnanian resides in this property, and he receives his mail at this address.

       24.       Shant Hovnanian also bears the burdens of ownership. He pays the municipal

taxes associated with the property from bank accounts under his control.

       25.       He also pays the utility bills associated with the 520 Navesink River Road

property, including the natural gas, water, and electrical bills from bank accounts under his

control.

       26.       Shant Hovnanian has taken steps to hide his ownership of the 520 Navesink River

Road property. He reported to an Internal Revenue Officer that he does not reside at that

property. He asserts instead that he lives at Village Mall, which is an office building that is not

zoned for residential use. In addition, he has also kept utility bills listed in his deceased father’s

name, rather than in his own name or the Pachava Asset Trust.




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        27.     Accordingly, the Pachava Asset Trust is the nominee or alter ego of Shant

Hovnanian.

        WHEREFORE, the United States requests:

        B. that the Court decree that Defendant Pachava Asset Trust is the nominee of Shant

Hovnanian, and thus Shant Hovnanian is the true and equitable owner of the property commonly

known as 520 Navesink River Road, Middletown Township.

                                 COUNT III
              DECLARE THAT THE VSHPHH TRUST IS THE NOMINEE OR
                       ALTER EGO OF SHANT HOVNANIAN

        28.     The United States incorporates paragraphs 1 through 27 of the Complaint as if

fully set forth herein.

        29.     Shant Hovnanian’s parents settled the VSHPHH Trust on December 28, 2012.

Defendant Shant Hovnanian and his sister, Defendant Nina Hovnanian, were named as co-

trustees. Shant’s and Nina’s children are the beneficiaries of the VSHPHH Trust.

        30.     Defendant Nina Hovnanian recently represented to the IRS that Shant Hovnanian

is no longer a trustee of the VSHPHH Trust. Thus, Nina Hovnanian is the only trustee, and

Shant Hovnanian has no formal role with the VSHPHH Trust. He has not right to take income

from the VSHPHH Trust and no obligation to pay the Trust’s expenses.

        31.     On January 1, 2015, Shant Hovanian’s parents transferred ownership of the

Village Mall property, which is commonly known as 1 Dag Hammarskjold Boulevard, Freehold,

New Jersey (Block 143, Lot 25.04) to the VSHPHH Trust. The Village Mall property is an

office building with several rented units.




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       32.     The transfer to the VSHPHH Trust, rather than to Shant Hovnanian directly, was

an attempt to avoid encumbering the property with the federal tax liens, which attached to all of

Shant Hovnanian’s property and rights to property.

       33.     Shant Hovnanian enjoys the benefit of ownership of the property. He receives the

rental income from this property through a company under his control.

       34.     Shant Hovnanian also carries the burden of ownership. He has paid municipal

taxes and utility bills associated with the Village Mall property from bank accounts under his

control.

       35.     Shant Hovnanian has attempted to hide his ownership of the Village Mall

property. Even after the transfer from his parents to the VSHPHH Trust, Shant Hovnanian had

the tenants make rent payments payable to his father (their previous landlord) through January of

2017. Shant Hovnanian’s father, however, died on August 31, 2015. These checks were

deposited in the bank account of a company under Shant Hovnanian’s control, HovSat, Inc. In

February of 2017, Shant Hovnanian instructed the tenants to pay rent directly to HovSat, Inc.

       WHEREFORE, the United States requests:

       C.      that the Court decree that Defendant VSHPHH Trust is the nominee of Shant

Hovnanian, and thus Shant Hovnanian is the true and equitable owner of the Village Mall

property.




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                          COUNT IV
  DECLARE THAT ADELPHIA WATER COMPANY, INC. IS THE NOMINEE OR
                ALTER EGO OF SHANT HOVNANIAN

        36.       The United States incorporates paragraphs 1 through 35 of the Complaint as if

fully set forth herein.

        37.       On September 29, 1978, Hovbilt, Inc., transferred the real property commonly

knowns as 572 Wyckoff Mills Road, Howell Township, New Jersey (Block 143, Lot 26.01 and

Block 143, Lot 26.01; Qual T01) to Adelphia Water Company, Inc., for $3,100. This property

consists of a vacant building and a water tower that hosts a cellular tower.

        38.       Adelphia Water is a Hovnanian-controlled business. It has not filed a federal

income tax return since 1999. In 1999, Adelphia Water listed Shant Hovnanian as owning a 25%

interest in the corporation, his sister Nina owning a 25% interest, and their parents owning the

remaining 50%.

        39.       Adelphia Water had its corporate charter revoked in 2012 after failing to file

annual reports.

        40.       Because the Adelphia Water had its corporate charter revoked, Shant Hovnanian

and Nina Hovnanian are now the owners of the corporate assets under New Jersey law, including

the 572 Wyckoff Mills Road property.

        41.       Alternatively, Adelphia Water is the nominee or alter ego of Shant Hovnanian.

Adelphia Water holds bare legal title to the 572 Wyckoff Mills Road property, and he is the true

and equitable owner of the property.

        42.       Shant Hovnanian enjoy the benefits of ownership of the 572 Wyckoff Mills Road

property. Shant Hovnanian manages the 572 Wyckoff Mills Road property. He also bears the

burdens of ownership. A company under Shant Hovnanian’s control (HovSat, Inc.) pays the



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utility bills associated with the property, but the bills are charged to different companies, all of

which are controlled by Shant Hovnanian.

        WHEREFORE, the United States requests:

        D. that the Court decree that Defendant Adelphia Water Company, Inc., is the nominee of

Shant Hovnanian, and thus Shant Hovnanian is the true and equitable owners of Adelphia Water

Company.

                              COUNT V
       FORECLOSE FEDERAL TAX LIENS AGAINST THE REAL PROPERTIES

        43.     The United States incorporates paragraphs 1 through 43, above of the Complaint

as if fully set forth herein.

        44.     A delegate of the Secretary of the Treasury of the United States made income tax

assessments against Shant Hovnanian as described in paragraph 14, above.

        45.     Federal tax liens arose upon assessment of the income tax assessments described

in paragraphs 14, above. These federal tax liens attached to all of the Shant Hovnanian’s

property and rights to property then owned or thereafter acquired.

        46.     Because the Pachava Asset Trust, VSHPHH Trust, and Adelphia Water Company

are the nominees of Shant Hovnanian as explained more fully in Counts II, III, and IV, the

United States’ federal tax liens attach to the 520 Navesink Road property, the Village Mall

property, and 572 Wyckoff Mills Road.

                A. 520 Navesink Road Property

        47.     On January 16, 2018, the United States filed a notice of federal tax lien in the

Office of the County Clerk of Monmouth County against Shant Hovnanian for his unpaid federal

income taxes, listing the Pachava Asset Trust as his nominee.




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        48.      MTAG Service, LLC, may claim an interest in the 520 Navesink Road property

by virtue of a certificate of tax lien sale for taxes owed in 2017 that was certificate number 17-

00554, which was filed with the Office of the County Clerk of Monmouth County on March 2,

2018.

                 B. Village Mall Property

        49.      On January 16, 2018, the United States filed a notice of federal tax lien in the

Office of the County Clerk of Monmouth County against Shant Hovnanian, listing the VSHPHH

Trust as his nominee.

                 C. Adelphia Water Company, Inc.

        50.      On January 16, 2018, the United States filed a notice of federal tax lien in the

Office of the County Clerk of Monmouth County against Shant Hovnanian, listing the Adelphia

Water Company as his nominee.

        51.      Ulysses Asset Sub II, LLC, may claim an interest in the 572 Wyckoff Mills Road

property.

        52.      The Township of Howell may claim an interest in the 572 Wyckoff Mills Road

property by virtue of a certificate of tax lien sale for taxes owed in 2011 that was certificate

number 20120199, which was filed with the Office of the County Clerk of Monmouth County on

July 27, 2012.




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        53.     Nina Hovnanian may claim an interest in the 572 Wyckoff Mills Road property.

WHEREFORE, the plaintiff, United States of America, prays:

        E. That the Court order and adjudge that the United States of America has valid and

subsisting federal tax liens against the property and rights to property owned by Defendant Shant

Hovnanian, including his interest in the 520 Navesink Road property, the Village Mall property,

572 Wyckoff Mills Road property;

        F. That the Court determine the respective interests of the parties in the 520 Navesink

Road property, the Village Mall property, and the 572 Wyckoff Mills Road property;

        G. That the Court order and adjudge that: the federal tax liens be foreclosed against

Defendant Shant Hovnanian’s interest in the subject real property, and that the Real Property to

be sold, according to law, free and clear of any right, title, lien, claim, or interest of any of the

parties herein, and that the proceeds of the sale be distributed in accordance with the rights of the

parties determined herein, with the amounts attributable to the interest of Shant Hovnanian be

paid to the United States to be applied against his liabilities; and

        H. That this Court grant such other and further relief that is just and equitable.




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       DESIGNATION UNDER LOCAL RULE OF CIVIL PROCEDURE 101.1(f)

       In accordance with Local Rule of Civil Procedure 101.1(f), the undersigned designates

the United States Attorney for the District of New Jersey to receive service of all notices or

papers in this action at the following address:

       Chief, Civil Division
       United States Attorney’s Office
       District of New Jersey
       970 Broad Street, Ste. 700
       Newark, New Jersey 07102

                                                         /s/ Ari D. Kunofsky
                                                         ARI D. KUNOFSKY
                                                         Trial Attorney, Tax Division
                                                         U.S. Department of Justice


                        LOCAL CIVIL RULE 11.2 CERTIFICATION

       Pursuant to Local Civil Rule 11.2, I certify that the matter in controversy alleged in the

foregoing Complaint is not the subject of any other action pending in any court, or of any

pending arbitration or administrative proceeding.



Date: October 18, 2018,
                                                         RICHARD E. ZUCKERMAN
                                                         Principal Deputy Assistant Attorney General
                                                         Tax Division

                                                         /s/ Ari D. Kunofsky_________________
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                                                         Counsel for the United States
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